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                         Exhibit G
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Overturning of Roe v. Wade




Remarks by Secretary Xavier Becerra at the Press
Conference in Response to President Biden's Directive
following Overturning of Roe v. Wade
Xavier Becerra
June 28, 2022
Hubert H. Humphrey Building
Washington, D.C.


As Prepared for Delivery

On Friday, June 24th, five Americans decided to use the vast power bestowed upon them by our
democracy and our Constitution to unconscionably put at risk the life and health of millions of their fellow
Americans. They chose to unconscionably limit Americans' established freedom and autonomy to control
their own body -        decisions usually made in consultation with their doctor, not a politician. And they chose
to unconscionably strip away the fundamental health care protections that every American of child-bearing
age has known all their lives.

Friday's Supreme Court decision was despicable, but it was also predictable. HHS has been preparing for
this for some time. That's why, earlier this year, we launched our HHS Reproductive Access Task Force to
plan for every action necessary to protect women's access to reproductive health care.

There is no magic bullet. But if there is something we can do, we will find it and we will do it at HHS.
Indeed, that was the instruction I received from the President of the United States.


Last Friday, President Biden announced the actions he is taking to ensure medication abortion is available
to the fullest extent possible and that women can travel safely from states where abortion is banned to
states where abortion is legal. Here is how HHS will support these issues:

• First, HHS will take steps to increase access to medication abortion.

     - Federal law requires our programs to provide medication abortion in limited circumstances, including
      life of the woman, rape, or incest.
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    - Now more than ever it is imperative that all federally-supported programs and services are complying
    and providing this under the law.

• Second, I am directing the Office for Civil Rights within HHS to ensure patient privacy and
  nondiscrimination for patients seeking reproductive health care, as well as for providers who offer
  reproductive health care.

• Third, I am directing the Department to examine its authority under the Emergency Medical Treatment
  Act (EMTALA) to ensure that clinical judgment of doctors and hospitals is supported in treating pregnant
  patients, including those experiencing pregnancy loss or complications, and reaffirming that abortion
  care can be appropriate to stabilize patients.

• Fourth, I am directing all agencies in my Department to work to ensure that all providers - from doctors
  to pharmacists -- and clinics have appropriate training and resources to handle family planning needs,
  including administering patient referrals for care, and helping patients navigate this new reality.

• Fifth, I am directing the Centers for Medicare and Medicaid Services (CMS) to take every legally
  available step to protect family planning care, including emergency contraceptives and long acting
  reversable contraceptives, such as IUDs. Health care is a matter to be decided by patients and their
  providers, not politicians. As part of these efforts, we will make clear that family planning providers are
  able to participate in the Medicaid program. These clinics provide safe care and have a vast expertise in
  providing reproductive health care.

Let me now tell you a little more about why I think medication abortion is so critical.

• Medication abortion has been approved by the FDA for years and is safe for patients.

• It is the gold standard for care when someone who's pregnant experiences a miscarriage, which is all
  too real for many expectant mothers across the country.

• The Supreme Court's decision will result in worsened health outcomes and death for some patients.
  Working to increase access to this drug is a national imperative and in the public interest.

• We will continue to support the FDA and its rigorous scientific review for these safe and effective drugs.

• We will also work with the Attorney General and the Justice Department as they work to ensure that
  states may not ban medication abortion, based on a disagreement with the FDA's expert judgment
  about the drug's safety and efficacy.

• And we will issue guidance to providers to ensure they receive accurate and robust information on
  medication abortion.
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The HHS Reproductive Access Task Force will report to me on additional impactful ways to ensure
appropriate information about, access to, and coverage for sexual and reproductive health care - as well
as coordinate with other federal agencies.

I was at a Planned Parenthood clinic in St. Louis, Missouri, on Friday morning when the Supreme Court
overturned Roe v. Wade. I saw in real time the impact of this unconscionable decision. The Clinic Director
had to almost immediately start turning away patients as the state's ban went into effect. This clinic has
stopped providing safe and legal abortion care. People in the room were visibly shaken, there were tears
and an unshakeable sense of sadness.

After my visit to the clinic in St. Louis, I traveled across the state line to another clinic in Fairview Heights,
Illinois - a state that, unlike Missouri, still had lawful abortion care. There, I visited a site that helps
patients get care by providing assistance - ranging from helping patients find appointments to paying for
their travel expenses -and abortion care. It was shocking that, in the United States of America, a short
drive can make such a dire and draconian difference in health care outcomes. I saw restrictions that leave
women and families on unequal footing and widen maternal health disparities.

The impact was visible and real.

This is a critical moment in history. How we respond will speak to how we view the rights, dignity and
wellbeing of women everywhere. This is a moment of crisis in health care. We will leave no stone
unturned. All options are on the table. We will do everything within the legal limit of the law to reach
patients and support providers.

I know we are all tired and our hearts are broken by this loss of rights and dignity. But now is the time for
us to continue on for the many people across the country who live in banned abortion states, who lack
voices that represent them.

I stand with you and I have your back.




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